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&lt;title&gt;USCA1 Opinion&lt;/title&gt;



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&lt;pre&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;United States Court of Appeals &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;For the First Circuit &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;____________________ &lt;br&gt; &lt;br&gt;No. 98-1595 &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ILEANA IRVINE, IRG RESEARCH GROUP, INC., &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Plaintiffs, Appellees, &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;v. &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;MURAD SKIN RESEARCH LABORATORIES, INC., &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant, Appellant. &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;____________________ &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;APPEAL FROM THE UNITED STATES DISTRICT COURT &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;FOR THE DISTRICT OF PUERTO RICO &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[Hon. Carmen Consuelo Cerezo, U.S. District Judge] &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;____________________ &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Before &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Torruella, Chief Judge, &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Selya, Circuit Judge, &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and Acosta, Senior District Judge. &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;_____________________ &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;Vincent J. Syracuse, with whom Newman Tannenbaum Helpern &lt;br&gt;Syracuse &amp; Hirschtritt LLP, David A. Pellegrino and Luis N. Blanco- &lt;br&gt;Matos were on brief, for appellant. &lt;br&gt; &nbsp;&nbsp;&nbsp;Jossie Yunque-Lpez and Ral Gonzlez-Toro, for appellees. &lt;br&gt; &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;____________________ &lt;br&gt; &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;July 8, 1999 &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;____________________

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;ACOSTA, Senior District Judge. &nbsp;On appeal defendant- &lt;br&gt;appellant Murad Skin Research Laboratories, Inc. ("Murad") &lt;br&gt;challenges the verdict rendered in favor of both plaintiffs IRG &lt;br&gt;RESEARCH GROUP, INC. ("IRG") and Ileana Irvine ("Irvine"). &lt;br&gt;Specifically, Murad alleges that the district court erred by (1) &lt;br&gt;not granting its motion for judgment as a matter of law; (2) &lt;br&gt;declining to charge the jury in accordance with its proffered &lt;br&gt;instruction on foreseeability; (3) denying its petition for a new &lt;br&gt;trial; and (4) allowing the testimony of plaintiffs' expert &lt;br&gt;witness. &lt;br&gt; &nbsp;On review we agree with Murad's reasoning that both &lt;br&gt;causes of action should have been dismissed as a matter of law. &nbsp;&lt;br&gt;Accordingly, there is no need to address the other issues raised by &lt;br&gt;Murad. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;BACKGROUND &lt;br&gt; &nbsp;Murad is a stateside manufacturer of skin care products. &nbsp;&lt;br&gt;Irvine and her daughter, Catherine Irvine Sarnataro, both &lt;br&gt;"aestheticians," i.e. skin care specialists, first came in contact &lt;br&gt;with the Murad line of products at a trade show in Chicago in 1989. &nbsp;&lt;br&gt;Irvine testified at trial that there was a "glycolic acid &lt;br&gt;revolution" in the industry at the time and she found the glycolic &lt;br&gt;acid manufactured by Murad to be the "most effective" of all the &lt;br&gt;other products available in the market. &nbsp;Initially, she purchased &lt;br&gt;Murad products for her own clients but since 1991 she also sold &lt;br&gt;them to various salons.

 &nbsp;Subsequently, Irvine and her daughter met periodically &lt;br&gt;with Dr. Howard Murad, president of Murad, at various conferences &lt;br&gt;and conveyed to him an interest in becoming the exclusive &lt;br&gt;distributor of Murad products in Puerto Rico. &nbsp;The conversations &lt;br&gt;culminated in a provisional exclusive distribution agreement dated &lt;br&gt;September 2, 1993 with IRG, a corporation established and &lt;br&gt;controlled by Irvine and her daughter. &nbsp;The contract would be &lt;br&gt;extended thereafter conditioned upon IRG meeting certain sales &lt;br&gt;quotas. &lt;br&gt; &nbsp;Both Irvine and her daughter testified regarding their &lt;br&gt;efforts on behalf of IRG to develop a market for the Murad skin &lt;br&gt;products in Puerto Rico which included promotions, advertisements, &lt;br&gt;demonstrations, training and education of both aestheticians and &lt;br&gt;dermatologists. &nbsp;IRG operated through its own clinics and also sold &lt;br&gt;to aestheticians and medical offices. &lt;br&gt; &nbsp;In May 1994 Murad broadcast an infomercial on various &lt;br&gt;stateside cable television stations as part of its advertising &lt;br&gt;campaign. &nbsp;Dr. Murad testified that the purpose behind the &lt;br&gt;infomercial was to expose their home products to customers and also &lt;br&gt;to lure them into the salons for professional treatment. &nbsp;Unbeknown &lt;br&gt;to Murad, a New York station relayed the infomercial to Puerto Rico &lt;br&gt;and its products were thereby made available locally through &lt;br&gt;telemarketing. &lt;br&gt; &nbsp;According to plaintiffs-appellees, the infomercial marked &lt;br&gt;the beginning of the economic downfall of both IRG and Irvine. &nbsp;&lt;br&gt;After IRG learned of the telemarketing incursion, it sought relief &lt;br&gt;under the Puerto Rico Distributorship Act, Law 75 of June 24, 1964, &lt;br&gt;P.R. Laws Ann. tit. 10, &nbsp;278 et seq. (1997) whereas Irvine sued &lt;br&gt;under the local torts statute. &nbsp;The jury found for plaintiffs- &lt;br&gt;appellees and awarded $390,000 to IRG and $100,000 to Irvine as &lt;br&gt;damages. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RULE 50 &lt;br&gt; &nbsp;Petitions for judgments as a matter of law under Rule &lt;br&gt;50(a)(1) Fed. R. Civ. P. will be granted only in those instances &lt;br&gt;where, after having examined the evidence as well as all &lt;br&gt;permissible inferences drawn therefrom in the light most favorable &lt;br&gt;to non-movant, the court finds that a reasonable jury could not &lt;br&gt;render a verdict in that party's favor. &nbsp;Mangla v. Brown Univ., 135 &lt;br&gt;F.3d 80, 82 (1st Cir. 1998); Ed Peters Jewelry Co. v. C &amp; J Jewelry &lt;br&gt;Co., 124 F.3d 252, 261 (1st Cir. 1997); Bogosian v. Mercedes-Benz &lt;br&gt;of N. Am., Inc., 104 F.3d 472, 475 (1st Cir. 1997); Speen v. Crown &lt;br&gt;Clothing Corp., 102 F.3d 625, 628 (1st Cir. 1996), cert. denied, &lt;br&gt;520 U.S. 1276, 117 S. Ct. 2457, 138 L.Ed.2d 214 (1997). &nbsp;In &lt;br&gt;carrying out this analysis the court may not take into account the &lt;br&gt;credibility of witnesses, resolve evidentiary conflicts, nor ponder &lt;br&gt;the weight of the evidence introduced at trial. &nbsp;Alvarez-Fonseca v. &lt;br&gt;Pepsi Cola Bottling Co. of P.R., &nbsp;152 F.3d 17, 23 (1st Cir. 1998), &lt;br&gt;cert. denied, No. 98-8641, ___ U.S. ___, 1999 WL 170188 (May 17, &lt;br&gt;1999); &nbsp;Logue v. Dore, 103 F.3d 1040, 1043 (1st Cir. 1997); &nbsp;Speen, &lt;br&gt;102 F.3d at 637; Katz v. City Metal Co., Inc., 87 F.3d 26, 28 (1st &lt;br&gt;Cir. 1996). &lt;br&gt; &nbsp;In order to overcome a Rule 50 petition the party &lt;br&gt;carrying the burden of proof must have introduced at trial &lt;br&gt;sufficiently adequate evidence for the jury to determine the &lt;br&gt;plausibility of a particular fact. &nbsp;"Thus, in order to support a &lt;br&gt;jury finding on such an issue, the evidence presented must make the &lt;br&gt;existence of the fact to be inferred more probable than its &lt;br&gt;nonexistence." &nbsp;Alvarez-Fonseca, 152 F.3d at 24; Katz, 87 F.3d at &lt;br&gt;28; Richmond Steel, Inc. v. Puerto Rican Am. Ins. Co., 954 F.2d 19, &lt;br&gt;22 (1st Cir. 1992); Malav-Flix v. Volvo Car Corp., 946 F.2d 967, &lt;br&gt;971 (1st Cir. 1991). &lt;br&gt; &nbsp;A mere scintilla of evidence will not rise to a triable &lt;br&gt;issue of fact necessary to avoid dismissal under Rule 50. &nbsp;Crane v. &lt;br&gt;Green &amp; Freedman Baking Co., Inc., 134 F.3d 17, 21 (1st Cir. 1998); &lt;br&gt;Ed Peters Jewelry, 124 F.3d at 261; Coyante v. P.R. Ports Auth., &lt;br&gt;105 F.3d 17, 21 (1st Cir. 1997); Speen, 102 F.3d at 637. &nbsp;Nor will &lt;br&gt;"conjecture" or "speculation" over the evidence presented provide &lt;br&gt;sufficient grounds &nbsp;to warrant a fact finding determination by the &lt;br&gt;jury. &nbsp;Russo v. Baxter Healthcare Corp., 140 F.3d 6, 8 (1st Cir. &lt;br&gt;1998) (citing Katz v. City Metal Co., 87 F.3d at 28). &lt;br&gt; &nbsp;On appeal we will review the record de novo employing the &lt;br&gt;same criteria applicable to the trial court, and decide whether, as &lt;br&gt;defendant/appellant contends, the jury in this case "as a rational &lt;br&gt;factfinder could have reached no conclusion except that the &lt;br&gt;plaintiff[s] take nothing." &nbsp;Logue v. Dore, 103 F.3d at 1043. &nbsp;See &lt;br&gt;also Russo, 140 F.3d at 8; Speen, 102 F.3d at 628; Katz, 87 F.3d at &lt;br&gt;28.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;LAW 75 &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Generally &lt;br&gt; &nbsp;Puerto Rico's Law 75 governs the business relationship &lt;br&gt;between principals and the locally appointed distributors/dealers &lt;br&gt;for marketing their products. &nbsp;The statute was initially enacted to &lt;br&gt;avoid the inequity of arbitrary termination of distribution &lt;br&gt;relationships once the designated dealer had successfully developed &lt;br&gt;a local market for the principal's products and/or services. &nbsp;&lt;br&gt;Euromotion, Inc. v. BMW of N. Am., Inc., 136 F.3d 866, 870 (1st &lt;br&gt;Cir. 1998); Borschow Hosp. and Med. Supplies, Inc. v. Csar &lt;br&gt;Castillo, Inc., 96 F.3d 10, 14 (1st Cir. 1996); R.W. Intern. Corp. &lt;br&gt;v. Welch Foods, Inc., 88 F.3d 49, 51 (1st Cir. 1996). &nbsp;In order to &lt;br&gt;accomplish its goal Law 75 limited the principal's ability to end &lt;br&gt;the relationship unilaterally except for "just cause," &nbsp;278a, &lt;br&gt;while subjecting the principal to &nbsp;considerable economic liability &lt;br&gt;for terminations without just cause. &nbsp;See &nbsp;278b of Law 75 &lt;br&gt;(enumerating factors to consider in calculating award). &lt;br&gt; &nbsp;In 1966 the protection afforded to dealers under Law 75 &lt;br&gt;was extended to include the conduct of a principal which even &lt;br&gt;though it did not end the contract it was deemed detrimental to &lt;br&gt;the distribution relationship. &nbsp;The amendment further provided that &lt;br&gt;impairments without just cause would subject the infringing party &lt;br&gt;to the same liability provided for terminations under &nbsp;278b. &nbsp;&lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Impairment &lt;br&gt; &nbsp;Law 75 enumerates some instances of impairment by way of &lt;br&gt;illustration and establishes a rebuttable presumption of &lt;br&gt;impairment whenever a principal bypasses a dealer by distributing &lt;br&gt;merchandise directly; appoints additional dealers in contravention &lt;br&gt;of the agreement; fails to adequately fill orders; or arbitrarily &lt;br&gt;changes the transportation and/or payment terms. &nbsp;&nbsp;278a-1(b)(1)- &lt;br&gt;(4). &lt;br&gt; &nbsp;The protection afforded dealers by Law 75, however, is &lt;br&gt;circumscribed by those rights acquired under the agreement &lt;br&gt;regulating their business relationship. &nbsp;Therefore, whether or not &lt;br&gt;an impairment has taken place will depend upon the specific terms &lt;br&gt;of the distribution contract. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The question whether there has been a &lt;br&gt; &nbsp;"detriment" to the existing relationship &lt;br&gt; &nbsp;between supplier and dealer is just another &lt;br&gt; &nbsp;way of asking whether the terms of the &lt;br&gt; &nbsp;contract existing between the parties have &lt;br&gt; &nbsp;been impaired. &lt;br&gt; &lt;br&gt;Vulcan Tools of P.R. v. Makita USA, Inc., 23 F.3d 564, 569 (1st &lt;br&gt;Cir. 1994). &lt;br&gt; &nbsp;The parties do not dispute the fact that, pursuant to the &lt;br&gt;September 2, 1993 agreement, IRG had the exclusive distribution &lt;br&gt;rights of Murad products in Puerto Rico during a trial period &lt;br&gt;lasting from August 25, 1993 through December 31, 1994. &nbsp;Further, &lt;br&gt;the document provided that should IRG meet a particular sales quota &lt;br&gt;it would qualify to act as Murad's exclusive distributor for an &lt;br&gt;additional two years. &lt;br&gt; &nbsp;It is also uncontested that through its infomercial, &lt;br&gt;which commenced airing in Puerto Rico in May 1994, Murad sold its &lt;br&gt;products directly to local clientele. &nbsp;The uncontroverted evidence &lt;br&gt;at trial also established that Murad never intended the broadcast &lt;br&gt;to be aired in Puerto Rico. &nbsp;This was a fortuitous event brought &lt;br&gt;about by cable carriers not related to Murad in any way. &lt;br&gt; &nbsp;Murad argues that it is not liable for impairment of the &lt;br&gt;relationship because once notified by plaintiffs-appellees of the &lt;br&gt;broadcast in Puerto Rico it promptly gave instructions for this &lt;br&gt;sales mode to be discontinued. &lt;br&gt; &nbsp;A principal may not be held accountable for unknown &lt;br&gt;market interference by third parties. &nbsp;However, once put on notice &lt;br&gt;that its products are reaching an area of limited distribution &lt;br&gt;rights a principal has the obligation to take prompt positive &lt;br&gt;action to curtail the practice. &nbsp;Even though its role was not to &lt;br&gt;"stand as a vigilant dog", Gen. Office Prod. Corp. v. Gussco Mfg., &lt;br&gt;Inc., 666 F. Supp. 328, 333 (D.P.R. 1987), once informed of the &lt;br&gt;local transmission Murad did have an affirmative duty to ensure &lt;br&gt;that the direct sales would cease and avoid further interference &lt;br&gt;with the Puerto Rico market. &lt;br&gt; &nbsp;Murad argues that it was alerted to the local &lt;br&gt;transmission of the broadcast "for the first time" via a letter &lt;br&gt;dated October 14, 1994 forwarded by Catherine Irvine (Appellant's &lt;br&gt;brief at 6) and that it immediately responded by taking steps to &lt;br&gt;avoid its recurrence. &nbsp;However, there is enough information in the &lt;br&gt;record from which a reasonable jury could infer that Murad was &lt;br&gt;advised of the broadcast much earlier than October 14, 1994. &lt;br&gt; &nbsp;At trial Dr. Murad acknowledged having been informed of &lt;br&gt;the broadcast matter "a few weeks before" receiving the October 14, &lt;br&gt;1994 letter. &nbsp;Further, this correspondence makes reference to a &lt;br&gt;request made by IRG "[a]bout a month ago" for a list of local &lt;br&gt;customers who had placed orders through the infomercial which &lt;br&gt;presupposes Murad had been notified of this practice long before &lt;br&gt;the letter was mailed. &nbsp;The letter also points to an earlier &lt;br&gt;telephone call by Gerard Sarnataro, Catherine Irvine's husband, on &lt;br&gt;behalf of IRG "several days ago" notifying of direct orders placed &lt;br&gt;by him and others. &nbsp;Lastly, the letter was a follow-up to a prior &lt;br&gt;conversation between Catherine Irvine and Dr. Murad demanding some &lt;br&gt;kind of response from Murad which again proves earlier contacts &lt;br&gt;regarding the prohibited availability of Murad products through the &lt;br&gt;infomercial. &lt;br&gt; &nbsp;Irvine also testified that she, her daughter and son-in- &lt;br&gt;law &nbsp;"started feeling the negative effects" of the infomercial in &lt;br&gt;the summer of 1994. &nbsp;She related how &nbsp;customers and beauty salon &lt;br&gt;owners complained to her that the products were being made &lt;br&gt;available through the television at lower prices. &nbsp;Irvine further &lt;br&gt;indicated that she, her daughter and her son-in-law "immediately &lt;br&gt;got in touch with Mr. Angelo Fiorita," Murad's representative, to &lt;br&gt;express their concern (emphasis ours) and that Mr. Fiorita &lt;br&gt;responded that he would "speak with Dr. Murad and ... take the &lt;br&gt;necessary steps for this to stop happening." &nbsp;However, according to &lt;br&gt;Irvine's testimony, "[n]othing happened." &nbsp;Irvine explained that &lt;br&gt;the October 1994 letter was eventually sent to Murad because the &lt;br&gt;situation continued to worsen without any corrective measures being &lt;br&gt;taken by Murad. &lt;br&gt; &nbsp;Gerard Sarnataro testified that he placed orders from &lt;br&gt;Puerto Rico "several times to test out" how long Murad would &lt;br&gt;continue the practice of selling the products directly in the local &lt;br&gt;market. &nbsp;Mr. Sarnataro further indicated that he continued &lt;br&gt;purchasing products from Puerto Rico and calling Murad to object to &lt;br&gt;what he considered an unauthorized practice. &nbsp;At trial &lt;br&gt;Mr. Sarnataro also described how, despite his complaints, &lt;br&gt;approximately two months later he had been approached over the &lt;br&gt;telephone to inquire if he was interested in reordering Murad's &lt;br&gt;products. &lt;br&gt; &nbsp;Murad's first remedial action was taken on October 25, &lt;br&gt;1994. &nbsp;Because the jury could logically infer that Murad was put &lt;br&gt;on notice of the interference soon after May 1994 Murad's argument &lt;br&gt;that it responded diligently is undermined by the evidence in the &lt;br&gt;record. &nbsp;Therefore, a reasonable fact finder could have found that &lt;br&gt;the exclusive distribution provision of the contract had been &lt;br&gt;impaired by Murad's failure to take prompt positive action in &lt;br&gt;reacting to IRG's complaints. &nbsp;However, our analysis under Law 75 &lt;br&gt;does not conclude here. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Damages &lt;br&gt; &nbsp;The jury awarded IRG $390,000 as damages under Law 75. &nbsp;&lt;br&gt;The statute establishes a formula for the indemnification of &lt;br&gt;dealers/distributors in the event of either termination or &lt;br&gt;impairment to the relationship by a principal without just cause. &nbsp;&lt;br&gt;However, Law 75 specifically limits payment "to the extent of the &lt;br&gt;damages caused [the dealer/distributor]" &nbsp;278b (emphasis ours). &nbsp;&lt;br&gt;It is clear from reading this provision that damages will not be &lt;br&gt;automatically conferred in all cases of termination and/or &lt;br&gt;impairment. &nbsp;In this regard the Puerto Rico Supreme Court &lt;br&gt;specifically held in Marina Indus. Inc. v. Brown Boveri Corp., 114 &lt;br&gt;D.P.R. 64, 90 (1983) that the factors enumerated in &nbsp;278b are not &lt;br&gt;mandatory. &nbsp;Rather, they constitute guidelines to be utilized &lt;br&gt;contingent upon the presentation of adequate proof in each case. &nbsp;&lt;br&gt;Further, in Marina Industrial the Supreme Court acknowledged that &lt;br&gt;evidence of damages is an essential element of a Law 75 violation &lt;br&gt;as to which plaintiff bears the burden of proof. &nbsp;Therefore, in &lt;br&gt;order to prevail, a Law 75 plaintiff must submit evidence of &lt;br&gt;damages as part of its action. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A claim for impermissible termination &lt;br&gt; &nbsp;or impairment of a dealership contract under &lt;br&gt; &nbsp;section 278 has two essential elements; that &lt;br&gt; &nbsp;the contract existing between the parties was &lt;br&gt; &nbsp;impaired or terminated without just cause and &lt;br&gt; &nbsp;that there were resulting damages. &nbsp;After the &lt;br&gt; &nbsp;plaintiff has shown an impairment or &lt;br&gt; &nbsp;termination of the contract, the defendant may &lt;br&gt; &nbsp;offer the affirmative defense of just cause. &nbsp;&lt;br&gt; &nbsp;If there was no just cause, the plaintiff must &lt;br&gt; &nbsp;show damages. &lt;br&gt; &lt;br&gt;Draft-Line Corp. v. Hon Co., 781 F. Supp. 841, 843 (D.P.R. 1991) &lt;br&gt;aff'd, 983 F.2d 1046 (1st Cir. 1993) (unpublished table decision). &lt;br&gt; &nbsp;The evidence presented at trial to justify damages to IRG &lt;br&gt;consisted of the testimony of Irvine as well as the opinion of &lt;br&gt;Radams Alvarez Menndez, an accountant. &nbsp;According to Irvine, as &lt;br&gt;a result of the infomercial IRG "sales began to decline &lt;br&gt;dramatically" in August-September 1994. &nbsp;The "business began &lt;br&gt;collapsing little by little... and in the end the business &lt;br&gt;virtually came apart." &nbsp;However, the invoices of Murad products &lt;br&gt;sold to IRG during 1994 through April 1995 directly belie this &lt;br&gt;testimony as well as the conclusions reached by the expert &lt;br&gt;witness. &lt;br&gt; &nbsp;The opinion rendered by plaintiffs' expert to justify &lt;br&gt;IRG's damages was based on a formula using the ratio between the &lt;br&gt;number of clinics opened by IRG and the corresponding volume of &lt;br&gt;sales. &nbsp;The expert then proceeded to make a projection of the &lt;br&gt;anticipated sales of IRG had it opened 25 clinics within a term of &lt;br&gt;five years as originally planned. &nbsp;However, the revenues employed &lt;br&gt;as a basis for this computation were based on the total sales of &lt;br&gt;IRG for the fiscal year running from July 1, 1993 through June 30, &lt;br&gt;1994 without any reference to the sale of Murad products in &lt;br&gt;particular. &nbsp;Mr. Alvarez Menndez assumed that all sales and &lt;br&gt;services provided by IRG for that period of time were exclusively &lt;br&gt;Murad products which was not the case. &nbsp;When confronted with the &lt;br&gt;increase of orders of Murad products throughout 1994 the expert &lt;br&gt;conceded that this was "not consistent" with the overall decline of &lt;br&gt;sales by IRG for the same period. &nbsp;&lt;br&gt; &nbsp;More significantly, according to Mr. Alvarez Menndez the &lt;br&gt;drop in sales and closing down of clinics commenced "after the &lt;br&gt;second quarter of 1994 [that is, October through December of 1993]" &lt;br&gt;which confirms that the downward trend began prior to May 1994, the &lt;br&gt;onset of the alleged impairment by Murad. &lt;br&gt; &nbsp;Inasmuch as plaintiffs did not challenge in any way the &lt;br&gt;authenticity of Murad's invoices and/or the veracity of the &lt;br&gt;information contained therein the amount of IRG sales for this &lt;br&gt;period is conclusive on this matter. &nbsp;Further, if indeed IRG's &lt;br&gt;purchases of Murad products remained unaltered despite the brief &lt;br&gt;period of Murad's direct sales in Puerto Rico IRG could not &lt;br&gt;reasonably argue that it had been injured by Murad even if Murad &lt;br&gt;had breached the exclusivity clause of their &nbsp;distribution &lt;br&gt;agreement. &nbsp;Given this uncontested factual scenario a reasonable &lt;br&gt;jury could not plausibly conclude that the damages complained of by &lt;br&gt;IRG arose as a result of the principal's alleged impairment. IRG's &lt;br&gt;Law 75 claim must fail for &nbsp;having failed to establish a causal &lt;br&gt;connection between its economic downfall and Murad's forbidden &lt;br&gt;infomercial. &nbsp;Accordingly, IRG's cause of action should have been &lt;br&gt;DISMISSED. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;INDIVIDUAL CLAIM &lt;br&gt; &nbsp;The jury awarded Ileana Irvine $100,000 as damages for &lt;br&gt;her pain and suffering and loss of reputation due to Murad's &lt;br&gt;negligent actions regarding the infomercial. &lt;br&gt; &nbsp;Murad contends that Irvine has no personal cause of &lt;br&gt;action and that there was no evidence of a causal relationship &lt;br&gt;between its "purchase of air time for the infomercial at a New York &lt;br&gt;television station" and Irvine's purported damages (Appellants' &lt;br&gt;Brief at 28). &lt;br&gt; &nbsp;In this jurisdiction tort liability is governed by art. &lt;br&gt;1802 of the Puerto Rico Civil Code, P.R. Laws Ann. tit. 31, &nbsp;5141 &lt;br&gt;(1990) which imposes responsibility for damages caused by &lt;br&gt;negligence or fault. &nbsp;The necessary elements to prevail in a tort &lt;br&gt;action are: (1) a negligent act or omission, (2) damages and (3) a &lt;br&gt;causal relationship between them. &nbsp;De-Jess-Adorno v. Browning &lt;br&gt;Ferris Indus. of P.R., Inc., 160 F.3d 839, 842 (1st Cir. 1998); &lt;br&gt;Marshall v. Prez-Arzuaga, 828 F.2d 845, 847 (1st Cir. 1987); &lt;br&gt;Montalvo-Feliciano v. Cruz-Concepcin, 144 D.P.R. ____, &nbsp;98 JTS 6 &lt;br&gt;at 495, 499 (1998); Toro-Aponte v. E.L.A., 142 D.P.R. ____, 97 JTS &lt;br&gt;18 at 627 (1997). &lt;br&gt; &nbsp;Not all actions or omissions which result in &lt;br&gt;injuries/damages will give rise to liability under art. 1802. &nbsp;&lt;br&gt;"Negligence has been defined by the Commonwealth courts as the &lt;br&gt;failure to exercise due diligence to avoid foreseeable risks." &nbsp;&lt;br&gt;Malav-Flix, 946 F.2d at 971. &nbsp;Therefore, liability will only &lt;br&gt;arise if the damages complained of were reasonably foreseeable to &lt;br&gt;the defendant. &nbsp;De-Jess-Adorno, 160 F.3d at 842; Montalvo- &lt;br&gt;Feliciano, 144 D.P.R. ____, 98 JTS at &nbsp;499; Toro-Aponte, 142 D.P.R. &nbsp;&lt;br&gt;____, 97 JTS at 627; Ocasio-Juarbe v. Eastern Airlines, Inc., 125 &lt;br&gt;D.P.R. 410, 418 (1990), official translation reproduced in full in &lt;br&gt;902 F.2d 117 (1st Cir. 1990); Rivera-Prez v. Cruz-Corchado, 119 &lt;br&gt;D.P.R. 8, 18 (1987). &nbsp;The duty of care imposed upon a tortfeasor is &lt;br&gt;anticipating reasonably probable injuries to probable victims. &nbsp;&lt;br&gt;Marshall v. Prez-Arzuaga, 828 F.2d 847. &nbsp;See Herminio M. Brau, Los &lt;br&gt;Daos y Perjuicios Extracontractuales en Puerto Rico &nbsp;7.02[2] at &lt;br&gt;184-5 (2d ed. 1986). &nbsp;The foreseeability contemplated by the &lt;br&gt;statute does not include every conceivable consequence of an act or &lt;br&gt;omission since to do so would make the defendant an absolute &lt;br&gt;insurer. &nbsp;See &nbsp;Montalvo-Feliciano, 144 D.P.R. ____, 98 JTS at 499; &lt;br&gt;Pacheco v. A.F.F., 112 D.P.R. 296, 300 (1982); Jimnez v. &lt;br&gt;Pelegrina-Espinet, 112 D.P.R. 700, 704 (1982). &lt;br&gt; &nbsp;For purposes of our analysis we will assume that the &lt;br&gt;conduct complained of by Irvine in support of her negligence claim &lt;br&gt;is the same utilized by IRG for its Law 75 action, i.e., allowing &lt;br&gt;the Murad products to be sold directly in Puerto Rico. &lt;br&gt; &nbsp;Inasmuch as our review of the claim is limited by the &lt;br&gt;constraints of a Rule 50 motion, the issue then becomes whether &lt;br&gt;there is sufficiently reliable evidence in the record for a jury to &lt;br&gt;conclude that the mental anguish and loss of reputation averred by &lt;br&gt;Irvine were reasonably to be foreseen to Murad as a probable &lt;br&gt;consequence of the infomercial. &nbsp;In other words whether, based on &lt;br&gt;the facts presented at trial as well as the permissible inferences &lt;br&gt;derived therefrom, it was reasonable for the trier of fact to find &lt;br&gt;that Murad should have anticipated the resulting damages to Irvine &lt;br&gt;individually. &nbsp;As previously mentioned, there is no actionable &lt;br&gt;claim under art. 1802 if the particular injury/damage complained of &lt;br&gt;by Irvine could not have been reasonably foreseen by Murad. &lt;br&gt; &nbsp;Even though Irvine described in detail the alleged &lt;br&gt;injuries to her reputation, humiliation and pain and suffering &lt;br&gt;caused by Murad's airing of the infomercial in Puerto Rico, &lt;br&gt;liability based on art. 1802 cannot rest on the existence of an &lt;br&gt;injury alone. &nbsp;Irvine did not introduce any evidence to explain &lt;br&gt;why it should have been reasonably foreseeable to Murad that &nbsp;&lt;br&gt;making its products available in Puerto Rico at lower prices would &lt;br&gt;somehow affect her personally. &nbsp;At trial when asked by her counsel &lt;br&gt;to describe her relationship with Murad, separate from that of IRG, &lt;br&gt;Irvine merely responded that it was "cordial" and that she found &lt;br&gt;Dr. Murad "very pleasant." &nbsp;Her testimony in this regard was &lt;br&gt;circumscribed by the tenor of her and her daughter's contacts with &lt;br&gt;the Murad representatives. &nbsp;No mention was made of any particular &lt;br&gt;circumstances in her dealings with Murad which would support her &lt;br&gt;individual claim. &lt;br&gt; &nbsp;Additionally, the documentary evidence submitted at trial &lt;br&gt;further supports Murad's theory. &nbsp;The distribution agreement was &lt;br&gt;made with the corporation, not Irvine. &nbsp;All the correspondence &lt;br&gt;available in the record which was exchanged between Murad and &lt;br&gt;plaintiffs/appellants was conducted through the corporation. &lt;br&gt; &nbsp;Accordingly, Irvine did not produce any evidence at trial &lt;br&gt;from which the jury could reasonably conclude that her personal &lt;br&gt;damages were a probable and foreseeable consequence of Murad's &lt;br&gt;infomercial. &nbsp;Irvine's individual claim must also be DISMISSED for &lt;br&gt;having failed to meet her burden of proof. &lt;br&gt; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;CONCLUSION &lt;br&gt; &nbsp;Accordingly, we direct the district court to set aside &lt;br&gt;the judgments on both the corporate and individual claims and enter &lt;br&gt;judgment as a matter of law in the appellant's favor. &lt;/pre&gt;

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